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                    Exhibit A

 Fee Summary by Professional for the Period
      May 1, 2015 through May 31, 2015
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                                                 EFH Corp
                                            Deloitte & Touche LLP
                             Fees Sorted by Category for the Fee Period
                                        May 01, 2015 - May 31, 2015

Financial Statement Audit and Related Services
Professional           Level                                              Rate       Hours         Fees
Carr, Vickie                Partner/Principal                            $365.00        6.7     $2,445.50
Hoffman, David              Partner/Principal                            $365.00        7.1     $2,591.50
Janiak, Stacy               Partner/Principal                            $365.00        1.2       $438.00
Kushner, Jonathan           Partner/Principal                            $365.00        4.4     $1,606.00
Mano, Patrice               Partner/Principal                            $365.00        6.4     $2,336.00
Pavlovsky, Katie            Partner/Principal                            $365.00        0.5       $182.50
Stokx, Randy                Partner/Principal                            $365.00       26.7     $9,745.50
Wahrman, Julie              Partner/Principal                            $365.00       13.6     $4,964.00
Winger, Julie               Partner/Principal                            $365.00        3.1     $1,131.50
Favor, Rick                 Director                                     $365.00       26.8     $9,782.00
Goldberg, Rob               Director                                     $365.00        3.5     $1,277.50
Wittenburg, Dave            Director                                     $365.00        3.5     $1,277.50
Bowers, Rachel              Senior Manager                               $290.00       47.7    $13,833.00
Dwivedi, Rajesh             Senior Manager                               $290.00        1.0       $290.00
Hannagan, Peter             Senior Manager                               $290.00        1.1       $319.00
Hickl, Jeff                 Senior Manager                               $290.00       22.4     $6,496.00
Horn, Dave                  Senior Manager                               $290.00        2.5       $725.00
Khandelwal, Vinyas          Senior Manager                               $290.00        1.0       $290.00
Loo, Alice                  Senior Manager                               $290.00        4.3     $1,247.00
Parker, Matt                Senior Manager                               $290.00       61.5    $17,835.00
Poindexter, Heath           Senior Manager                               $290.00       23.4     $6,786.00
Alvarado, Jason             Manager                                      $265.00       16.7     $4,425.50
Freeman, Mike               Manager                                      $265.00       50.7    $13,435.50
Kidd, Erin                  Manager                                      $265.00        5.7     $1,510.50
Powell, Clayton             Manager                                      $265.00       15.6     $4,134.00
Varkey, Jamie               Manager                                      $265.00        0.5       $132.50
Babanova, Maria             Senior Consultant                            $215.00       15.5     $3,332.50
Coetzee, Rachelle           Senior Consultant                            $215.00       26.4     $5,676.00
Morehead, David             Senior Consultant                            $215.00      101.5    $21,822.50
Murawski, Bryan             Senior Consultant                            $215.00       62.5    $13,437.50
Schneider, Stephen          Senior Consultant                            $215.00       14.8     $3,182.00
Sims, Zac                   Senior Consultant                            $215.00       33.3     $7,159.50
Brunson, Steve              Consultant                                   $175.00      135.1    $23,642.50
Casey, Chris                Consultant                                   $175.00      121.5    $21,262.50
Henry, Diane                Consultant                                   $175.00       61.7    $10,797.50
Hill, Tim                   Consultant                                   $175.00        1.2       $210.00
Lin, Silver                 Consultant                                   $175.00        5.8     $1,015.00
O'Donnell, Chris            Consultant                                   $175.00       18.6     $3,255.00
Persons, Hillary            Consultant                                   $175.00      102.8    $17,990.00
Pothoulakis, Tony           Consultant                                   $175.00       90.0    $15,750.00
Reynolds, Matt              Consultant                                   $175.00       90.0    $15,750.00
Richards, Nick              Consultant                                   $175.00       35.0     $6,125.00
Twigge, Daniel              Consultant                                   $175.00       87.4    $15,295.00
Yadav, Devavrata            Consultant                                   $175.00       23.5     $4,112.50
Professional Subtotal:                                                              1,384.2   $299,051.50
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                                                   EFH Corp
                                              Deloitte & Touche LLP
                               Fees Sorted by Category for the Fee Period
                                         May 01, 2015 - May 31, 2015

Non-Working Travel
Professional                 Level                                          Rate       Hours        Fees
Favor, Rick                  Director                                      $365.00       8.0    $2,920.00
Hickl, Jeff                  Senior Manager                                $290.00      20.5    $5,945.00
Powell, Clayton              Manager                                       $265.00       9.5    $2,517.50
Professional Subtotal:                                                                  38.0   $11,382.50


Less 50% Non-Working Travel Deduction                                                          ($5,691.25)
Total                                                                                           $5,691.25
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                                                 Deloitte & Touche LLP
                             Fees Sorted by Category for the Fee Period
                                         May 01, 2015 - May 31, 2015

Preparation of Fee Applications
Professional            Level                                                  Rate       Hours       Fees
Murawski, Bryan             Senior Consultant                                 $215.00      15.0    $3,225.00
Gutierrez, Dalia            Project Controller                                $175.00      49.5    $8,662.50
Professional Subtotal:                                                                     64.5   $11,887.50
